Case 3:23-cv-04395-LB Document 3 Filed 08/29/23 Page 1 of 2

FILED
AUG 29 2023
AS

CLERK, U.S. DISTRICT COURT
NORTH DISTRICT OF CALIFORNIA

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMENT OF PRISONER CASE
TO A UNITED STATES MAGISTRATE JUDGE FOR TRIAL

Pursuant to General Order 44, the Assignment Plan of the United States District Court for
the Northern District of California, this case has been assigned to a Magistrate Judge.

Pursuant to 28 U.S.C. § 636(c), with written consent of all parties, a magistrate judge
may conduct all proceedings in a case, including all pretrial and trial proceedings, entry of
judgment and post-trial motions. Appeal will be directly to the United States Court of Appeals
for the Ninth Circuit.

Attached is a form to complete to indicate whether you consent to proceed before a
magistrate judge or decline to proceed before a magistrate judge. You are free to withhold
consent without adverse consequences. If you decline, the case will be reassigned to a district
judge.

If you are the plaintiff/petitioner in this case, you must file your consent/declination form
within 14 days of receipt of this notice. If you are the defendant/respondent, you must file your
consent/declination form within 28 days of receipt of service unless this case was removed to
this court. In removals, all parties must file a consent/declination form within 14 days of receipt
of this notice.

Rev. 03-20
United States District Court
Northern District of California

Co ea NON OW Fe WD NY

wo NO NO NH HO HN HY NO NO HR HH HF HF KF KF OF FSF hl Sh lh
ao NN UO SB WY NY =—&— GD BO eH ND DH OD FP WD NYO S| S&S

Case 3:23-cv-04395-LB Document3 Filed 08/29/23 Page 2 of 2

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

JAMES D LEWIS, Case No. 23-cv-04395-LB
Plaintiff, CONSENT OR DECLINATION
TO MAGISTRATE JUDGE
v. JURISDICTION
ELON MUSH,
Defendant.

INSTRUCTIONS: Please indicate below by checking one of the two boxes whether you choose
to consent or decline magistrate judge jurisdiction in this matter. Sign this form below your
selection.

O Consent to Magistrate Judge Jurisdiction

In accordance with the provisions of 28 U.S.C. § 636(c), I voluntarily consent to have a
United States magistrate judge conduct all further proceedings in this case, including trial and
entry of final judgment.

OR

0 Decline Magistrate Judge Jurisdiction
In accordance with the provisions of 28 U.S.C. § 636(c), I decline to have a United States

magistrate judge conduct all further proceedings in this case, including trial and entry of final
judgment.

DATE: NAME:

AT:

(Write place where signed.) Signature

Rev. 03-20

